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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


RICARDO TABORDA,

v.                                     Case No. 8: 97-cr-248-T-24EAJ
                                                8: 05-cv-1491-T-24EAJ

UNITED STATES OF AMERICA.




                                        ORDER

       This cause is before the Court on Defendant Ricardo Taborda's successive 28

U.S.C. § 2255 motion to vacate, set aside, or correct an allegedly illegal sentence. (Doc.

cv-1; cr-169).

                                     BACKGROUND

       Taborda signed his first motion to vacate on July 25, 2000 (Doc. cr-142). The Court

considered the merits of the motion and denied the motion to vacate. (Doc. cr-149).

Taborda appealed and this Court denied Taborda's application for certificate of

appealability. (Doc. cr-155). The United States Court of Appeals for the Eleventh Circuit

also denied Taborda's application for certificate of appealability. (Doc. cr-159).

       Now, Taborda has filed a second, successive motion to vacate. Pursuant to 28

U.S.C. § § 2255 and 2244(b)(3)(A), as amended by the Antiterrorism and Effective Death

Penalty Act of 1996, federal prisoners who want to file a second or successive motion to

vacate, set aside, or correct a sentence must move the court of appeals for an order

authorizing the district court to consider the second or successive motion. See 28 U.S.C.

§ 2244(b)(3)(A). A three-judge panel of the court of appeals, § 2244(b)(3)(B), may
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authorize the filing of a second or successive motion only if it determines that the motion

contains claims which rely on either: (1) newly discovered evidence that, if proven and

viewed in the light of the evidence as a whole, would be sufficient to establish by clear and

convincing evidence that no reasonable fact finder would have found the movant guilty of

the offense; or (2) a new rule of constitutional law, made retroactive to cases on collateral

review by the Supreme Court, that was previously unavailable. 28 U.S.C. § 2255. See In

re Blackshire, 98 F.3d 1293 (11th Cir. 1996). Defendant has not fulfilled the requirements

of the statutes as set out above.

       Accordingly, the Court orders:

       That Defendant's successive 28 U.S.C. § 2255 motion to vacate (Doc. cv-1; cr-169)

is denied.

       The Clerk is directed to enter judgment against Taborda in the civil case and to

CLOSE THAT CASE.

       ORDERED at Tampa, Florida, on August 11, 2005.




AUSA: James C. Preston

Pro se: Ricardo Taborda




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